        Case 3:23-cr-00149-MEM Document 91 Filed 07/12/24 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :
                                         :
             v.                          :    CRIMINAL NO. 3:23-CR-149
                                         :
DAMIEN BOLAND,                           :
ALFRED ATSUS,                            :
JOSEPH ATSUS AND                         :    JUDGE MANNION
NICHOLAS DOMBEK                          :
                                         :
                    Defendants.          :    ELECTRONICALLY FILED

                      DEFENDANTS’ JOINT REQUEST
                  PURSUANT TO FED. R. CRIM. P. 12(b)(4)(B)

      Defendants Damien Boland, Alfred Atsus, and Joseph Atsus, by and through

their undersigned counsel, hereby respectfully request notice of the prosecution’s

intent to use (in its evidence-in-chief at trial) any evidence that may be entitled to

discover under Rule 16.

                                              Respectfully submitted,

                                              /s/Jason J. Mattioli
                                              Jason J. Mattioli
                                              The Mattioli Law Firm
                                              425 Biden Street, Suite 300
                                              Scranton, PA 18503
                                              (570) 880-7389

                                              Attorney for Defendant, Alfred Atsus
       Case 3:23-cr-00149-MEM Document 91 Filed 07/12/24 Page 2 of 3




                                        /s/Matthew L. Clemente
                                        Matthew L. Clemente
                                        88 N. Franklin Street
                                        Second Floor
                                        Wilkes-Barre, PA 18701
                                        (570) 266-8986

                                        Attorney for Defendant,
                                        Damien Boland

                                        /s/ Patrick A. Casey
                                        Patrick A. Casey
                                        Myers, Brier & Kelly, LLP
                                        425 Biden Street, Suite 200
                                        Scranton, PA 18503
                                        (570) 342-6100

                                        Attorney for Defendant, Joseph Atsus
Date: July 12, 2024




                                    2
        Case 3:23-cr-00149-MEM Document 91 Filed 07/12/24 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I, Patrick A. Casey, hereby certify that a true and correct copy of the foregoing

Joint Request Pursuant to Fed. R. Crim. P. 12(b)(4)(B) was served upon the counsel

of record via the Court’s ECF system on this 12th day of July 2024:

                          James Buchanan, Esquire
                          United States Attorney’s Office
                          235 North Washington Avenue
                          Suite 311
                          Scranton, PA 18501

                          Matthew L. Clemente, Esquire
                          Matthew L. Clemente, Attorney at Law
                          88 North Franklin Street, 2nd Floor
                          Wilkes Barre, PA 18640

                          Jason J. Mattioli, Esquire
                          Michael J. Ossont, Esquire
                          The Mattioli Law Firm
                          425 Biden Street, Suite 300
                          Scranton, PA 18503

                          Ernest D. Preate Jr., Esquire
                          120 South State Street
                          Clarks Summit, PA 18411


                                              /s/ Patrick A. Casey
                                              Patrick A. Casey
